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O 440 (Rev, 2709) Summons in a Ciyil Action — \ \ \ / z {\

 

 

 

 

 

 

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Thomas
Plaintiff

Vv.

 

 

 

 

 

   

 

 

 

 

 

 

 

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Civil Action No. 3:21 -cv-0285 1-L

Healthcare Revenue Recovery Group, |
LUC

Defendant

 

Summons in a Civil Action

TO: Healthcare Revenue Recovery Group LLC c/o CORPORATION SERVICE COMPANY
DBA CSC - LAWYERS INCORPORATING SERVICE
211 E. 7TH STREET SUITE 620

, : AUSTIN. TX 78701
A lawsuit.has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are: .

Nathan Volheim

2500S Highland Avenue, Suite 200
Lombard , IL 60148

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

 

  

DATE: 11/15/2021

oer rpm,

Signature of Clerk or Deputy Clerk

 

 
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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS DALLAS DIVISION
JORDAN N. THOMAS

Plaintiff,

VS. CAUSE NO. 3:21-cv-02851

HEALTHCARE REVENUE RECOVERY GROUP, LLC
Defendant.

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AFFIDAVIT OF SERVICE
"The following came to hand on Nov 26, 2021, 12:00 am,
SUMMONS; COMPLAINT,

and was executed at 211 E 7th St Suite 620 , Austin, TX 78701 within the county of Travis at 10:16 AM on Mon, Nov 29
2021, by delivering a true copy to the within named

HEALTHCARE REVENUE RECOVERY GROUP, LLC BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE
COMPANY ACCEPTED BY AUTHORIZED AGENT EVIE LICHTENWALTER

in person, having first endorsed the date of delivery on same.

lam a person over eighteen (18) years of age and | am competent to make this affidavit. |am a resident of the State of
Texas. | am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. | am nota party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. | have never been convicted

of a felony or of a misdemeanor involving moral turpitude. | have personal knowledge of the facts stated herein and they
are true and correct."

My name is Corin Johnson, my date of birth is 2/5/1983, and my address is 500 E. 4th St. #143, Austin, TX 78701 , and
United States of America. | declare under penalty of perjury that the foregoing is true and correct.

Executed in Travis County, State of TX, on November 29, 2021.

 

Ogh
Corin Johnson

Certification Number: PSC-5625
Certification Expiration: 9/30/2022

 
